
Maria S. Masigla, P.T., as Assignee of Cadet, Daniel, Appellant, 
againstCountry Wide Insurance Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Jaffe &amp; Koumourdas, LLP (Jean H. Kang, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Terrence C. O'Connor, J.), entered May 1, 2015. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which denied plaintiff's motion for summary judgment, and granted defendant's cross motion for summary judgment dismissing the complaint on the ground that defendant had not received timely notice of the accident.
For the reasons stated in Masigla, as Assignee of Cadet, Daniel v Country Wide Ins. Co. (___ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2015-1528 Q C], decided herewith), the order is affirmed. 
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: December 22, 2017










